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   6 Attorneys for Defendant NINA ELLE, INC. doing
       business as NINA ELLE JEWELS
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   8
                                UNITED STATES DISTRICT COURT
   9
                               CENTRAL DISTRICT OF CALIFORNIA
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  11 VERRAGIO, LTD.,                           CASE NO. 2:17-cv-04142-VAP-AFM
  12                    Plaintiff,             STIPULATION RE: (1) DISMISSAL
                                               OF CLAIMS, AND (2) ENTRY OF
  13           v.                              JUDGMENT AND PERMANENT
                                               INJUNCTION
  14 NINA ELLE JEWELS,

  15                    Defendants.
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       STIP RE DISMISSAL.01                   1
                      STIPULATION RE: DISMISSAL AND ENTRY OF JUDGMENT
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   1           Plaintiff VERRAGIO, LTD. (“Plaintiff”) and Defendant NINA ELLE, INC.
   2 doing business as NINA ELLE JEWELS (“Defendant”) have entered into a

   3 confidential settlement agreement and by and between their counsel of record,

   4 hereby stipulate and agree as follows:

   5           1. Plaintiff has brought the instant action for copyright infringement under 17
   6                U.S.C. §501 and federal trademark infringement in violation of 15 U.S.C.
   7                §1114 and 15 U.S.C. §1125;
   8           2. That a Final Judgment and Permanent Injunction (“the Judgment”), in the
   9                form annexed hereto as Exhibit A, may be entered forthwith upon
  10                approval and order of the Court and without further notice;
  11           3. That upon entry by the Court of the Judgment, all claims against
  12                Defendant not adjudicated by the Judgment shall be dismissed with
  13                prejudice;
  14           4. That the Judgment shall be binding upon Defendant and the “Enjoined
  15                Parties” upon entry by the Court without further notice to any party;
  16           5. That the parties, for good and sufficient cause, hereby waive any
  17                requirement or findings of fact and/or conclusions of law which might
  18                otherwise pertain to entry and issuance of the Judgment;
  19           6. That the parties hereby waive any and all rights to appeal from or to
  20                otherwise contest entry of the Judgment, which shall be deemed final as
  21                and when entered and
  22           7. That each party shall bear its own costs and fees.
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  24 DATED: October 26, 2017                     TUCKER ELLIS LLP
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  26                                       By:   /s/Howard A. Kroll
  27                                             HOWARD A. KROLL
                                                 Attorney for Plaintiff VERRAGIO, LTD.
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       STIP RE DISMISSAL.01                   2
                      STIPULATION RE: DISMISSAL AND ENTRY OF JUDGMENT
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   2 DATED: October 26, 2017                 KRANE & SMITH, APC
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                                       By:   /s/Ralphh C. Loeb*
   5                                         MARC SMITH
   6                                         RALPH C. LOEB
                                             Attorneys for Defendant
   7                                         NINA ELLE, INC. doing business as
                                             NINA ELLE JEWELS
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       *Pursuant to Local Rule 5-4.3.4(a)(2), the filing party attests that Defendant’s
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       counsel concurs in the content of this stipulation and has authorized its filing with
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       his electronic signature.
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       STIP RE DISMISSAL.01                   3
                      STIPULATION RE: DISMISSAL AND ENTRY OF JUDGMENT
